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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                     §
                                               §
  v.                                           §         No. 4:18CR103
                                               §         Judge Mazzant
  RICHARD DENVER BELDEN                        §

                              DECLARATION OF PUBLICATION

         Pursuant to the Court’s Preliminary Order of Forfeiture entered on August 22,

 2019, Notice of Criminal Forfeiture was posted on an official government internet site

 (www.forfeiture.gov) for at least thirty (30) consecutive days, beginning on August 24,

 2019, and ending on September 22, 2019, pursuant to 21 U.S.C. § 853(n)(1) and the

 Attorney General’s authority to determine the manner of publication of an Order of

 forfeiture in a criminal case.


                                                   Respectfully submitted,

                                                   JOSEPH D. BROWN
                                                   UNITED STATES ATTORNEY

                                                   /s/
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                                   CERTIFICATE OF SERVICE

         I certify that a copy of this document was served by electronic filing to opposing

 counsel on February 7, 2020.

                                                   /s/
                                                   Marisa J. Miller




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